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                          UNITED STATES DISTRICT COURT

                           DISTRICT OF MASSACHUSETTS


IN THE MATTER OF                                   )
THE EXTRADITION OF                                 ) Docket No.: 24-mj-01365-DLC
EYLEM TOK                                          )

       UNOPPOSED MOTION BY PETITIONER FOR ORDER TO CONDUCT
          PROBATION OFFICE INVESTIGATION AND INTERVIEW

       Ms. Tok moves that the Court order the United States Probation Department

(“Probation Office”) to conduct an investigation and interview of Ms. Tok. The

Probation Office will not conduct an investigation and interview in an extradition

matter without a court order, and the Probation Office will not provide any

recommendation to the Court. Upon consultation, the government has advised that it

does not object to Ms. Tok’s request.

       Ms. Tok intends to request a detention hearing in this matter. At that hearing,

Ms. Tok will argue that she should be released from detention based on special

circumstances. See, e.g., United States v. Casteneda-Castillo, 739 F. Supp. 2d 49, 55 (D.

Mass. 2010) (providing the standard for release in extradition cases). In connection with

any decision to release Ms. Tok, the Court must also find that she is “neither a risk of

flight nor a danger to any person or the community.” Id. Thus, an investigation and

report by the Probation Office is a critical element of this inquiry. Therefore, Ms. Tok

requests that the Court enter an order directing the Probation Office to conduct an

investigation and interview of Ms. Tok, in the interests of justice.




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                                                     Respectfully submitted,

                                                     ELYEM TOK

                                                     By her Attorney,

                                                     /s/ Brendan Kelley
                                                     Brendan Kelley
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                              CERTIFICATE OF SERVICE
        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) on June 18, 2024.
                                                        /s/ Brendan Kelley
                                                        Brendan Kelley




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